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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                     Case No. 3:19-cr-16/MCR

GHAZWAN FAMIL BROWN
_____________________________/

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts ONE, THREE, FOUR, FIVE

and SIX of the Indictment. After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I determined the guilty

plea was knowing and voluntary and the offense charged is supported by an

independent basis in fact containing each of the essential elements thereof. I

therefore recommend the plea of guilty be accepted and the Defendant be

adjudicated guilty and have sentence imposed accordingly.

Dated:      August 29, 2019.




                               /s/   Hope Thai Cannon
                               HOPE THAI CANNON
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                               UNITED STATES MAGISTRATE JUDGE


                          NOTICE TO THE PARTIES


      Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's   findings   or   recommendations     contained     in   a   report    and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




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